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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

WEST ALABAMA WOMEN’S     )
CENTER, et al., on behalf)
of themselves and their  )
patients,                )
                         )
     Plaintiffs,         )
                         )
                         )                   CIVIL ACTION NO.
     v.                  )                     2:15cv497-MHT
                         )                         (WO)
DR. THOMAS M. MILLER, in )
his official capacity as )
State Health Officer,    )
et al.,                  )
                         )
     Defendants.         )


                               OPINION

    Providers of abortion and other reproductive-health

services in Alabama challenge two 2016 state statutes

that regulate abortions and abortion clinics.                 The first

statute, which the court will call the “school-proximity

law,” provides that the Alabama Department of Public

Health   may   not   issue    or   renew    licenses     to   abortion

clinics located within 2,000 feet of a K-8 public school.
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1975 Ala. Code § 22-21-35.               The second statute, which the

court    will     call    the   “fetal-demise          law,”    effectively

criminalizes the most common method of second-trimester

abortion--the         dilation           and      evacuation,     or      D&E,

procedure--unless         the       physician      induces     fetal    demise

before    performing          the    procedure.         1975     Ala.     Code

§ 26-23G-1 et seq.

      The plaintiffs are West Alabama Women’s Center (an

abortion clinic in Tuscaloosa, Alabama) and its medical

director and Alabama Women’s Center (an abortion clinic

in Huntsville, Alabama) and its medical director.                          The

plaintiffs      sue      on    behalf        of   themselves     and    their

patients.       The defendants are the State Health Officer,

the State Attorney General, and the district attorneys

for Tuscaloosa and Madison Counties.                  All defendants are

sued in their official capacities.

      The plaintiffs claim that the school—proximity and

fetal—demise laws are unconstitutional restrictions on

abortion access in the State of Alabama that violate the

Due     Process     Clause          of   the      Fourteenth     Amendment.


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Jurisdiction is proper under 28 U.S.C. §§ 1331 (federal

question) and 1343 (civil rights).

      This   litigation    is    now   before    the   court    on    the

plaintiffs’ motion for a preliminary injunction.                      For

reasons that follow, and based on the evidence presented

at a hearing on October 4-6, 2016, the motion for a

preliminary injunction will be granted as to both laws.



                    I.    HISTORICAL BACKGOUND

      Abortion   clinics     and   their    physicians      have     been

subject to a number of regulations in Alabama.                 In just

the   last   five   years,      Alabama    has   passed    a   host      of

legislation to regulate how and where abortion care can

be provided.     The court, however, now mentions only some

of those laws.

      In 2011, the State prohibited abortions at 20 or more

weeks after fertilization, unless a woman’s condition

necessitates an abortion to avert her death or “serious

risk of substantial and irreversible physical impairment

of a major bodily function.”           1975 Ala. Code § 26-23B-5.


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       In    2013,    the   State     enacted   a   law    requiring      all

abortion clinics to meet the same building safety codes

applicable to ambulatory surgical centers.                        1975 Ala.

Code    §     26-23E-9.       Under     that    requirement,       abortion

clinics must meet the standards of the “NFPA 101 Life

Safety        Code     2000     edition,”       id.,      which     include

requirements         for    egress,    fire     protection,       sprinkler

systems, alarms, emergency lighting, smoke barriers, and

special hazard protection.                 To comply with that law,

abortion clinics in Alabama conducted renovations such

as installing a fireproof closet, fire alarm system, and

outside lighting.           Tr. Vol. I (doc. no. 110) at 162:3-7.

       In 2013, the State also required all physicians who

perform abortions in the State to hold staff privileges

at a hospital within the same statistical metropolitan

area as the clinic.           1975 Ala. Code § 26-23E-4(c).               The

court       held     the    staff-privileges        requirement      to    be

unconstitutional.             Planned      Parenthood      Se.,    Inc.    v.

Strange, 33 F. Supp. 3d 1330 (M.D. Ala. 2014) (Thompson,

J.);        see    also     Planned     Parenthood        Se.,    Inc.    v.


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Strange, --- F. Supp. 3d ----, No. 2:13-cv-405-MHT, 2016

WL 1167725 (M.D. Ala. Mar. 25, 2016) (Thompson, J.).

       Prior to 2014, Alabama law also required physicians

to    wait    at   least     24      hours       after     providing    informed

consent explanations to patients before conducting the

abortion procedure.             That year, the legislature extended

the informed-consent waiting period from 24 hours to 48

hours.       1975 Ala. Code § 26-23A-4.

       Two years later, Alabama enacted the two statutes

now challenged in this litigation.

       The    number    of      clinics         in   Alabama   has     decreased

significantly in the last 15 years: as of 2001, 12 clinics

provided      abortions         in    the       State.      Today,     only   five

clinics      continue      to     operate.           The    vast    majority    of

abortions       performed        in    Alabama        occur    in    these    five

clinics.1



    1.   In addition to abortion clinics, a very small
number of abortions take place in Alabama hospitals and
physician offices.     In 2014, 8,080 abortions were
performed in Alabama; of those, 23 abortions were
performed in hospitals and six abortions were provided
at physician offices. Second Johnson Decl. Ex. D (doc.

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      The    plaintiffs    operate     two   of   the   clinics:      the

Alabama Women’s Center, located in Huntsville, and the

West Alabama Women’s Center, in Tuscaloosa.2                   Together,

these two clinics provided 72 % of all abortions in

Alabama in 2014.         Second Johnson Decl. Ex. D (doc. no.

54-2) at 35.

      The Alabama Women’s Center, which opened in 2001, is

the   only    abortion    clinic     in   Huntsville,     in    the   far

northern part of the State.            The Huntsville metropolitan

area, with a population of 417,593,3 is Alabama’s second

largest urban area.         In addition to abortion services,

the Huntsville clinic provides contraceptive counseling

and care, testing and treatment for sexually transmitted



no. 54-2) at 35. Unless otherwise noted, the court is
addressing only those abortions performed outside the
hospital setting.

    2. The three other clinics operating in Alabama are
Reproductive Health Services in Montgomery and Planned
Parenthood clinics in Birmingham and Mobile.

    3.   Statistics are derived from 2010 census data.
See   2010  Census   Population  and   Housing   Tables,
http://www.census.gov/population/www/cen2010/cph-t/cph-
t-5.html.

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infections, pap smears, pregnancy testing, and referrals

for prenatal care and adoption.            In 2014, approximately

14 % of the abortions in Alabama took place at the

Huntsville clinic.       Second Johnson Decl. Ex. D (doc. no.

54-2) at 35.

      The West Alabama Women’s Center began operations in

1993 and is the only abortion clinic in Tuscaloosa and

all of west Alabama.         The Tuscaloosa metropolitan area

is Alabama’s fifth largest urban area.                The Tuscaloosa

clinic provides reproductive health services to women,

including    abortions,       birth     control,      treatment      for

sexually transmitted infections, pregnancy counseling,

and referrals for prenatal care and adoption.                 In 2014,

approximately 58 % of the abortions in Alabama took place

at the Tuscaloosa clinic, far more than at any other

clinic.     Second Johnson Decl. Ex. D (doc. no. 54-2) at

35.

      The Tuscaloosa and Huntsville clinics are the only

ones in Alabama that perform abortions at or after 15




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weeks of pregnancy.4         Prior to 15 weeks, most abortions

are performed either through the use of medication or the

dilation and curettage method, the latter of which uses

suction to empty the contents of the uterus.                  Starting

at 15 weeks, it ordinarily is not possible to complete

an abortion using suction alone, so patients must go to

clinics that offer the D&E procedure.             The D&E procedure

is a surgical abortion method where a physician uses

suction and instruments to remove the fetus and other

contents of the uterus.           In 2014, the Huntsville and

Tuscaloosa clinics provided about 560 abortions starting

at 15 weeks, all of which were D&E abortions.                    Donald

Decl.   Ex.   F,   Induced    Terminations      of   Pregnancy      2014

Report (doc. no. 81-14) at 19.                That said, the vast

majority of abortions performed by the Huntsville and




     4.   Throughout the remainder of this opinion, the
week of pregnancy refers to gestational age as measured
from    the    last   menstrual   cycle,   rather    than
post- fertilization age, which is different by two weeks.
The court has adjusted the numbers accordingly when
citing statistics based on post-fertilization age.
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Tuscaloosa clinics occur prior to 15 weeks and therefore

do not involve D&E.



                     II. LITIGATION BACKGROUND

       In July 2015, after the retirement of its long-time,

sole physician who had hospital staff privileges, the

Tuscaloosa clinic, along with its new medical director,

initiated     this   litigation        to    challenge     an   Alabama

Department of Public Health regulation that required all

physicians who perform an abortion procedure to have

staff privileges at a local hospital or to have an outside

covering physician with such privileges.                   Ala. Admin.

Code    r.   420-5-1-.03(6)(b).             This   court   temporarily

restrained enforcement of the regulation against the

Tuscaloosa clinic.       W. Ala. Women’s Ctr. v. Williamson,

120 F. Supp. 3d 1296 (M.D. Ala. 2015) (Thompson, J.).

The department then granted a temporary waiver to the

Tuscaloosa     clinic,    and,    with       the   agreement    of   the

parties, the court stayed the proceeding to allow the

department time to modify the regulation.


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       In   May   2016,        while    the     stay    was    pending,      the

department amended the regulation to provide that an

abortion clinic could operate without a physician with

staff privileges or a covering physician as long as the

clinic      provided      to    all    women    undergoing      an    abortion

before they left the clinic, a copy of their medical

records.        See Ala. Admin. Code r. 420-5-1-.03(6)(c)(4).

That     same     month    the        school-proximity         law    and    the

fetal-demise law were signed into law.

       After obtaining leave of the court, the Tuscaloosa

clinic and its medical director further amended their

complaint to challenge the amended regulation and the two

new    laws,      which    impacted          both     the    Tuscaloosa      and

Huntsville        clinics.             W.      Ala.     Women’s       Ctr.    v.

Miller, --- F.R.D. ----, No. 2:15-cv-497-MHT, 2016 WL

3621273 (M.D. Ala. July 5, 2016) (Thompson, J.).                             The

Huntsville clinic and its medical director were added as

plaintiffs,       and     the    State       Attorney       General   and    two

district attorneys were added as defendants.




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        On July 13, 2016, the parties agreed to an order

temporarily restraining enforcement of the two laws until

three weeks after the end of a hearing on the plaintiffs’

preliminary-injunction motion.              The parties later agreed

to settle the challenge to the amended regulation, and

the court entered a judgment dismissing that claim.

    From October 4 through October 6, 2016, the court

held a preliminary-injunction hearing, during which the

court    heard   evidence     and    oral    argument.      The    order

temporarily        restraining           enforcement         of      the

school-proximity and fetal-demise laws expires today,

October 27, 2016.



                         III. LEGAL STANDARDS

    To show that a preliminary injunction is appropriate,

a plaintiff must show that “(1) there is a substantial

likelihood that he ultimately will prevail on the merits

of the claim; (2) he will suffer irreparable injury

unless the injunction issues; (3) the threatened injury

to the movant outweighs whatever damage the proposed


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injunction may cause the opposing party; and (4) the

public interest will not be harmed if the injunction

should issue.”      Cate v. Oldham, 707 F.2d 1176, 1185 (11th

Cir. 1983).     The plaintiff bears the burden of persuasion

as to each of the four required showings.                   McDonald's

Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998).

    To satisfy the first prong of preliminary-injunction

requirements, likelihood of success on the merits, the

plaintiffs in this case must show that the statute is

likely to violate the “substantive due process rights of

the women who seek abortions from the plaintiff clinics.”

Planned Parenthood Se., Inc. v. Strange, 9 F. Supp. 3d

1272,   1279    (M.D.    Ala.    2014)     (Thompson,      J.).      The

governing standard for finding a violation of substantive

due process rights in this context is the “undue burden”

standard developed in Planned Parenthood of Southeastern

Pennsylvania     v.   Casey,     505    U.S.   833,    876-79     (1992)

(plurality     opinion)      and     Whole     Woman's     Health         v.

Hellerstedt, 136 S. Ct. 2292, 2309-11 (2016).                In Casey,

a plurality of the Court concluded that, if a government


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regulation     has     “the   purpose   or     effect   of    placing      a

substantial obstacle in the path of a woman seeking an

abortion of a nonviable fetus,” the regulation is an

undue burden on a woman’s right to have an abortion and

is unconstitutional.          505 U.S. at 877.        Casey recognized

that a woman’s right of privacy extends to freedom “from

unwarranted      governmental      intrusion         into    matters      so

fundamentally affecting a person as the decision whether

to bear or beget a child.”         Id. at 896 (majority opinion)

(quoting Eisenstadt v. Baird, 405 U.S. 438, 453 (1972)).

       The   Supreme    Court   recently       reiterated     the   undue

burden standard, that “a statute which, while furthering

[a] valid state interest, has the effect of placing a

substantial obstacle in the path of a woman’s choice

cannot be considered a permissible means of serving its

legitimate ends.”         Whole Woman’s Health, 136 S. Ct. at

2309    (quoting       Casey,   505     U.S.    at     877    (plurality

opinion)).      The undue-burden analysis requires a court

to “consider the burdens a law imposes on abortion access

together with the benefits those laws confer.”                      Whole


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Woman's Health, 136 S. Ct. at 2309.                  The court must

“weigh[] the asserted benefits against the burdens.”                  Id.

at 2310.     As this court has stated: “[T]he heart of this

test is the relationship between the severity of the

obstacle and the weight of the justification the State

must offer to warrant that obstacle. . . . [T]he more

severe the obstacle a regulation creates, the more robust

the government's justification must be, both in terms of

how   much    benefit      the    regulation       provides     towards

achieving the State's interests and in terms of how

realistic it is the regulation will actually achieve that

benefit.”     Planned Parenthood Se., Inc. v. Strange, 9 F.

Supp. 3d 1272, 1287 (M.D. Ala. 2014) (Thompson, J.); see

also Planned Parenthood of Wis. v. Van Hollen, 738 F.3d

786, 798 (7th Cir. 2013) (Posner, J.) (“The feebler the

[state   interest],      the     likelier    the   burden,     even       if

slight, to be ‘undue’ in the sense of disproportionate

or gratuitous.”).




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                       IV. SCHOOL-PROXIMITY LAW

       The school-proximity law provides that the Alabama

Department of Public Health “may not issue or renew a

health      center   license      to    an     abortion    clinic         or

reproductive health center that performs abortions and

is located within 2,000 feet of a K-8 public school.”

1975 Ala. Code § 22-21-35(b).                The parties agree that

both the Tuscaloosa and Huntsville clinics are located

within 2,000 feet of at least one K-8 public school.

Order on Pretrial Hearing (doc. no. 93), Stip. 3(b) at

13.    Each clinic is licensed by the department, and their

existing     licenses     will     expire      December     31,    2016.

Accordingly, if the school-proximity law were to take

effect, the parties agree the department would not renew

either clinic’s license to continue operations at its

existing location.

       No     legislative         findings         accompany         the

school-proximity law, so the court does not have an

explanation from the legislature of the purpose for the

law.     The plaintiffs have submitted newspaper articles,


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to which the State has not objected, that report that

Reverend    James    Henderson,       a    leader      of    anti-abortion

protestors outside the Huntsville clinic, drafted the

bill that ultimately became the school-proximity law,

with the purpose of shutting down the Huntsville clinic.

Newspaper Article, Second Johnson Decl. Ex. H (doc. no.

54-2) at 56.        Another article reported that Governor

Robert Bentley’s staff offered Henderson assistance in

seeking sponsors for the bill.              Id. Ex. I at 61.

    Nevertheless,        the       State   has       asserted    that     the

school-proximity law furthers two interests: minimizing

disturbance in the educational environment and supporting

a parent’s right to control their children’s exposure to

the subject of abortion.

    With     regard       to       these    interests,          the     State

acknowledges two things.             First, the State’s interests

are threatened by demonstrations outside the clinics, but

not by the clinics themselves.                  Tr. of Final Pre-Trial

Status   Conf.    (doc.      no.    99)    at    35:1-11.       Thus,     the

school-proximity       law     attempts         to   serve    the     State's


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interests    through     an   expressed       means   (the   2000-foot

prohibition     on   clinics)       to   an   unexpressed     end   (the

relocation of the demonstrations away from public K-8

schools).     Second, demonstrators have no effect on the

educational environment inside any school; the state

interest concerns only disruption outside and around

schools.    Id. at 37:9-21.

      In the absence of legislative findings, the court

must now, based on the “judicial record,” make findings

as to the State’s two asserted interests.                    See Whole

Woman's Health, 136 S. Ct. at 2310 (“[T]he relevant

statute here does not set forth any legislative findings.

Rather, one is left to infer that the legislature sought

to further a constitutionally acceptable objective....

For   a   district    court    to    give     significant    weight       to

evidence in the judicial record in these circumstances

is consistent with this Court's case law.”).




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                       A. Likelihood of Success

    The court is persuaded that the plaintiffs are likely

to succeed in their argument that the school-proximity

law would impose a substantial obstacle on a woman’s

right to obtain a pre-viability abortion, in violation

of her substantive due-process rights.                   As discussed

below, the judicial record reflects that the State’s

asserted    interests      are     only   minimally,     if    at   all,

furthered by the law, while the burden imposed on a

woman’s right to obtain an abortion is substantial.



                        1. State’s Interests

    First of all, the State's interests are furthered by

neither the law's means (the 2000-foot prohibition on

clinics)     nor     its     end     (the     relocation       of    the

demonstrations).        In Tuscaloosa, a middle school sits

just within 2,000 feet of the clinic, but a vast wooded

area separates the school and the clinic.                 Map, Second

Gray Decl. Ex. E (doc. no. 54-1) at 77 (showing Tuscaloosa

clinic at 1,986 feet away from middle school); Pl. Ex.


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27 (satellite view showing wooded area separating clinic

and school); Tr. Vol. II (doc. no. 111) at 106:4-9.                         Up

to five protestors (but usually fewer than that) stand

outside the clinic on weekdays, but they are neither

visible nor audible to children entering, exiting, or

inside the school.         Second Gray Decl. (doc. no. 54-1) at

¶    35;    Tr.   Vol.     II   (doc.     no.   111)     at   104:15-20,

108:24-25 - 109:1-5.            Indeed, on the record currently

before the court, there is absolutely no evidence that

the children (or their parents) at the Tuscaloosa school

are even aware that an abortion clinic is located nearby.5

Thus, because the record does not reflect that any K-8

public      school     children      within     2,000    feet     of   the

Tuscaloosa clinic are even aware of the clinic or the

demonstrations at the clinic, the school-proximity law

does not serve either of the State’s asserted purposes

of minimizing disruption or supporting a parent’s right



    5. Counsel for the State agreed that nothing in the
record indicates the legislature intentionally included
the   Tuscaloosa  clinic   within  the  scope  of   the
school-proximity law.   Tr. Vol. III (doc. no. 112) at
15:9-11.
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to control their children’s exposure to the subject of

abortion.




 The Tuscaloosa clinic (A) and its protestors (B) are separated
      from the nearest school (C) by a large wooded area.
                      Pl. Ex. 27 (excerpt).


    The State does not dispute that, while the law covers

the Tuscaloosa clinic, it was targeted to the “perceived

problem” at the Huntsville clinic.               Tr. Vol. III (doc.

no. 112) at 14:12-16.             Indeed, the State relies on




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newspaper    articles     that    describe     parental     complaints

about demonstrations outside the Huntsville clinic.

    In Huntsville, from 2 to 15 protestors stand outside

the clinic on weekdays.           Tr. Vol. I (doc. no. 110) at

168:5-12 (medical director of Huntsville clinic estimates

2 to 5 protestors on a regular basis and up to 10

protestors on weekdays); Second Johnson Decl. (doc. no.

54-2) ¶ 31 (owner of Huntsville clinic estimates 5 to 15

protestors).      Occasionally larger crowds of protestors

congregate on weekends, when school is not in session.

Tr. Vol. I (doc. no. 110) at 169:5-10; Johnson Dep., Def.

Ex. 20 (doc. no. 81-20) at 3:13-18 (describing large

rallies with up to 150 protestors).                Demonstrators may

yell at patients as they enter or exit the clinic.                   Tr.

Vol. I (doc. no. 110) at 216:9-11.

    Two public schools that include some or all of grades

K-8--Highlands Elementary School and the Academy for

Academics and Arts--are located within 2,000 feet of the

Huntsville clinic.        The entrances to Highlands and the

clinic    are     on    different       streets,     and     they    are


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approximately three blocks apart.                Id. at 176:18-19,

177:5-6.     It is not necessary to drive past the clinic

to access the school.           Id. at 176:20-23.           The record

contains absolutely no evidence of concerns expressed by

the   school’s     students      or     their   parents     about     the

Huntsville clinic or the demonstrations near it.                    As to

Highlands,     the     State’s        two   interests      (minimizing

disruption and supporting a parent’s right to control

their children’s exposure to the subject of abortion)

would not in any way be furthered by the closing or

relocation of the Huntsville clinic.




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 The Huntsville clinic (A) and the two schools, the Academy for
  Academics and Arts (B) and Highlands Elementary School (C).
                      Pl. Ex. 31 (excerpt).

    The Academy for Academics and Arts sits diagonally

across a five-lane street from, and to the east of, the

Huntsville clinic.        Published newspaper articles report

that some parents have complained about the presence of




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protestors near the clinic.6            But the record reflects no

disturbance to the educational environment: no evidence

suggests that protests are visible or audible from inside

the school; no evidence suggests the classroom setting

has been in any way disturbed by the protests; and no

evidence suggests that children are hindered or disturbed

while entering or exiting the school.              In fact, although

demonstrators sometimes stand across the street from the

abortion clinic and close to an Academy driveway, that

driveway is not used by parents who are dropping children

off; it is used by parents to access an attached parking

lot if they need to enter the school for business or opt

to personally walk their child into the school.                Tr. Vol.

II (doc. no. 111) at 26:21-25 – 27:1-3.                  The entrance

used by parents during drop-off and pick-up is accessed



    6. As evidence, the State relies on newspaper
articles which describe complaints from a few Academy
parents about anti-abortion protestors outside the
Huntsville clinic, including dislike that the protestors
appeared to target the parents and concern about traffic
safety and delay. Newspaper Articles, Def. Ex. 16 (doc.
no. 81-16), Def. Ex. 17 (doc. no. 81-17), & Def. Ex. 18
(doc. no. 81-18).

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from another street on the opposite side of the school,

while the driveway used by buses bringing children to and

from the school is on the same street as the clinic, but

further up the road.         Id. at 27:21-25 – 28:1-8; Tr. Vol.

I (doc. no. 110) at 174:16-23; Pl. Ex. 33 (depicting

traffic flow at the Academy).             As to the Academy, the

State’s    interest     in   minimizing      disruption      would        be

feebly, if at all, advanced by the closing or relocation

of the Huntsville clinic.




Traffic pattern at Huntsville’s Academy for Academics and Arts.
                          Pl. Ex. 33.

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       Also with regard to the Academy, the State’s interest

in     supporting        a    parent’s      right    to   control     their

children’s exposure to the subject of abortion would be

very weakly furthered by the closing or relocation of the

Huntsville clinic.             The record reflects only that one

mother was forced to respond to questions from her son,

an Academy student, about the subject of abortion after

he witnessed the protests.               Newspaper Article, Def. Ex.

16      (doc.      no.       81-16).         Moreover,     because      the

school-proximity law does not define all the locations

where      an   abortion       clinic    may   not    operate,      reality

dictates that it is highly likely, if not inevitable,

that regardless of whether an abortion clinic is located

within or without 2,000 feet of a K-8 public school in

Huntsville, K-8 public school students are, at one time

or another in their travels throughout the city, going

to witness demonstrations at that clinic regardless of a

parent’s best efforts to prevent it.

       In addition, the State’s statutory means (the closing

or relocation of the Huntsville clinic) will not lead to


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the       State’s      intended       end      (the        relocation        of

demonstrations away from the Academy).                       The evidence

reflects, and the court so finds, that protests will

continue at the Huntsville clinic’s current location even

if     the    school-proximity        law    were     to     take    effect.

Anti-abortion         protestors      have    demonstrated          not   just

outside       the    Huntsville    clinic,     but    also    outside      the

private practice of the clinic’s medical director, Dr.

Yashica Robinson White, as well as a hospital where she

holds admitting privileges.                Robinson White Decl. (doc.

no. 54-4) ¶¶ 8-10; Tr. Vol. I (doc. no. 110) at 179:2-16;

180:14-20.          Because Robinson White previously used the

Huntsville          clinic’s    current      site     for     her    private

obstetrics and gynecology practice, and routinely two and

as     many    as    ten   protestors      demonstrated       outside      the

facility on weekdays, protests occurred at the site even

before it became an abortion clinic.                        Robinson White

Decl. (doc. no. 54-4) ¶ 10; Tr. Vol. I (doc. no. 110) at

166:22-25 – 167:1-5.              And, because Robinson White has

credibly testified that, if the law were to go into


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effect, she would again use the facility for her private

practice, the law will not stop protests at the site.

Tr. Vol. I (doc. no. 110) at 181:22-25 - 182:1-12;

Robinson White Decl. (doc. no. 54-4) ¶ 16.                        Moreover,

because, as the court will explain later, the clinic is

likely to close if the law were to go into effect,

Robinson White has made clear she will be performing

abortions        at     the    facility,7     all    but       guaranteeing

continued protests at the site.               Id.

       Based on the current judicial record, the court finds

that the school-proximity law is likely to provide little

to     no    benefit    to    the   State’s   asserted     interests         in

minimizing disruption and supporting a parent’s right to

control       their    children’s     exposure      to   the    subject      of

abortion.       Because the court has found little to nothing

in     the     record    evidence      that    shows     that     the     new

school-proximity law advances the State’s interests, the



    7. Robinson White would continue to perform up to
100 abortions per year at the location of the Huntsville
clinic, the maximum number permitted under Alabama law
without an abortion clinic license. Robinson White Decl.
(doc. no. 54-4) ¶ 16.
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court accords it little to no weight in the balancing

test.



                     2. Burdens Imposed on Women

      In    addition    to    examining     the      State’s    asserted

interests, the court must also “consider the burdens

[the] law imposes on abortion access.”                  Whole Woman’s

Health, 136 S. Ct. at 2309.

      The    parties     do     not     dispute       that,      if   the

school-proximity law goes into effect, the State Health

Department could not renew the licenses of the Huntsville

and     Tuscaloosa     abortion    clinics      at    their     existing

locations after December 31, 2016.                At that time, the

clinics would need to relocate or shut down.                   The court

finds, based on the credible record, that it would not

be feasible for the Tuscaloosa clinic and the Huntsville

clinic to relocate and that the two clinics would have

to shut down if the law were to take effect.                   Tr. Vol. I

(doc. no. 110) at 164:19-25 – 165:1-18; Second Gray Decl.




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(doc. no. 54-1) ¶ 34; Second Johnson Decl. (doc. no.

54-2) ¶ 3.

      The current evidence credibly shows that, because

each clinic incurred significant expenses as a result of

the   surgical-center       requirement      imposed     on    abortion

providers    by    the   State     in   2013,    it    would    not       be

financially     feasible     to   relocate      now.      Because     the

Huntsville clinic could not bring its old building into

compliance with the surgical-center standards, it was

forced to relocate, requiring $ 530,000 to purchase a new

facility (the place where Robinson White had leased space

for her private practice) and more than $ 100,000 for

building renovations.           Tr. Vol. I (doc. no. 110) at

160:23-24, 162:1-4.          To cover those expenses, Dalton

Johnson, the clinic owner, and Robinson White incurred

significant personal financial debt.                   Second Johnson

Decl. (doc. no. 54-2) ¶ 16 (“In order to purchase the

facility, I cashed in all of my retirement savings;

borrowed from my life insurance policy; refinanced the

mortgage on the Madison Street building and pulled all


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the equity out of it; took out a $ 100,000 line of credit;

and spent money I had inherited from my father, who had

recently passed away.          In addition, Dr. Robinson White

and I each maxed out every one of our credit cards.”);

Tr. Vol. I (doc. no. 110) at 162:11-18 (Robinson White

explaining that the clinic owner removed “all of the

equity” from his mortgage on the prior clinic facility;

and that she and the clinic owner “emptied” their savings

accounts, “took all of the cash value” out of their

insurance policies, obtained a line of credit through a

bank, and “maxed out” all of their credit cards). Johnson

remains hundreds of thousands of dollars in debt from

these expenses.      Second Johnson Decl. (doc. no. 54-2) at

¶ 17 (describing outstanding debt on $ 100,000 line of

credit; $ 90,000 owed to life insurance policy; and

hundreds of thousands of dollars remaining on mortgages

for both prior and current clinic facilities).                       The

testimony of Robinson White, which the court found highly

credible, establishes that she and Johnson have committed




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significant personal financial sacrifices to continue to

operate the Huntsville clinic.

    The Tuscaloosa clinic spent $ 130,000 to renovate

its existing facility to comply with the surgical-center

requirements.      Second Gray Decl. (doc. no. 54-1) ¶ 32.

Purchasing     a   new    facility        now   would    require     the

Tuscaloosa clinic’s owner to use retirement funds or go

into debt, which she would not be able to pay off at this

stage of her career.        Id. ¶ 34.

    The Tuscaloosa and Huntsville clinics also could not

rely on leasing a new facility.            Anti-abortion protestors

in Alabama have also targeted the landlords that lease

space to facilities used to provide abortions.                     After

demonstrations      targeted     the      former   landlord     of   the

Tuscaloosa     clinic,     the   landlord       did   not   renew    the

clinic’s lease.      Id. ¶ 31.      Similarly, during an earlier

search for a Huntsville facility, Johnson hired real

estate   agents    and    engaged    in    an   extensive    six-month

search, but “each and every time [h]e would meet with the

owner or real estate agent of a building [h]e wanted to


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lease, the moment [h]e informed prospective lessors that

we intended to operate an abortion clinic in the space,

they would not lease to [him].”               Johnson Decl. (doc. no.

54-2) ¶¶ 12, 14.         Robinson White explained that, during

the Huntsville clinic’s recent relocation, the stigma

surrounding abortion made it difficult to find a banker

and closing attorney to work with them.                     Tr. Vol. I.

(doc. no. 110) at 165:2-11.                   These difficulties are

consistent     with      the   court’s        previous    finding   that

abortion providers in Alabama face a “climate of extreme

hostility     to   the     practice      of     abortion.”      Planned

Parenthood Se., 33 F. Supp. 3d at 1334.                    Against this

backdrop, the plaintiffs have credibly demonstrated that

it would not be practicable for them to relocate.

    The State contends that the burdens analysis should

not include the closure of the Huntsville and Tuscaloosa

clinics because whether the clinics close depends on “the

idiosyncrasies      of    [the   clinics’]        specific    financial

position.”    Def. Br. (doc. no. 81) at 9.               In other words,

the State seems to argue that the court should not


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consider       the    actual       financial      circumstances      of    the

clinics.       This contention misapprehends the undue-burden

case    law.         As    this   court     previously       explained,     the

undue-burden analysis requires an examination of the

“real-world context” of the challenged statute and its

actual effects--and not just those circumstances that

were    directly          attributable      to   the   statute.      Planned

Parenthood Se., 9 F. Supp. 3d at 1285-86.                     In Casey, the

Supreme Court’s evaluation of the burdens imposed by a

spousal-notification              requirement      considered     that     many

women    live        in     abusive    relationships,         meaning      that

requiring notification to an abusive spouse imposed a

potentially          insurmountable         barrier     to    obtaining      an

abortion.       See 505 U.S. at 888-898 (majority opinion).

It did not matter that the notification requirement could

not     be   said         to   cause   women      to   live     in   abusive

relationships or contribute to the existence of such

relationships; it was nonetheless dispositive that the

notification         requirement       had       the   actual     effect     of




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imposing a substantial obstacle on women’s access to

abortion.

       Similarly,      courts      have    routinely      recognized     that

imposing       substantial      costs      on    abortion      providers     to

comply with a statute places burdens on women’s access

to abortion--regardless of the financial circumstances

of the clinics.           In Whole Woman’s Health, the Supreme

Court noted that the costs of $ 1 to $ 3 million required

to     achieve     compliance       with        Texas’s    surgical-center

requirement were “considerable.”                      136 S. Ct. at 2318.

Evidence of those costs, the Court reasoned, “supports

the conclusion that more surgical centers will not soon

fill the gap when licensed facilities are forced to

close.”       Id.; see also Casey, 505 U.S. at 901 (plurality

opinion) (finding that recordkeeping requirements, which

“[a]t most ... increase the cost of some abortions by a

slight      amount”     do   not    impose       an    undue   burden,     but

acknowledging that “at some point increased cost could

become a substantial obstacle”); Tucson Woman’s Clinic

v. Eden, 379 F.3d 531, 542 (9th Cir. 2004) (concluding


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that application of new licensing and regulatory scheme

to     abortion       facilities,      which      would     have    required

abortion providers to expend “[t]ens of thousands of

dollars,” contributed to undue burden finding).

       The likely closure of two of Alabama’s five abortion

clinics would leave only three abortion clinics operating

in the State--one each in Birmingham, Montgomery and

Mobile--while the rest of the State, including the highly

populated           metropolitan       areas      of      Huntsville        and

Tuscaloosa, would have no licensed abortion providers at

all.         The      resulting     burdens       on    women      would     be

substantial.8

       First,       women   would   lose    the    right    to     obtain    an

abortion       in    Alabama    when    they      reached    15    weeks     of

pregnancy        altogether,        because       the     Tuscaloosa        and




    8. The State has not disputed any of the plaintiffs’
evidence about the resulting burdens on women should the
Huntsville and Tuscaloosa clinics be forced to close.


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Huntsville clinics are the only providers of abortions

beginning at 15 weeks of pregnancy.9



    9. Admittedly, to obtain an abortion at that point,
women in Huntsville and Tuscaloosa could travel
approximately 400 miles round-trip out of state to the
nearest provider in Atlanta. Second Henshaw Decl. (doc.
no. 54-3) ¶ 20.         For women relying on public
transportation, that would require a round trip no less
than 12 hours of duration. Katz Decl. (doc. no. 54-11)
¶ 21. Citing a study from a similar scenario in Texas,
Dr. Stanley Henshaw concluded that the effect in Alabama
would be comparable to a 70 % reduction in the number of
Alabama women who obtained abortions starting at
approximately 15 weeks of pregnancy.      Second Henshaw
Decl. (doc. no. 54-3) ¶ 20.       In 2014, 560 abortion
procedures were performed beginning at 15 weeks.      See
Donald Decl. Ex. F, Induced Terminations of Pregnancy
Occurring in Alabama, 2014 (doc. no. 81-14). Moreover,
although some women in Alabama could continue to access
abortions beginning at 15 weeks by traveling out of
state, courts have refused to allow out-of-jurisdiction
access to cure within-jurisdiction restrictions.      See
Planned Parenthood Se., 33 F. Supp. 3d at 1360-61; see
also Planned Parenthood of Wis., Inc. v. Schimel, 806
F.3d 908, 918 (7th Cir. 2015) (Posner, J.) (rejecting
argument that the availability of late second-trimester
abortions in Chicago could justify the closure of
Wisconsin’s only abortion clinic that conducted such
abortions, because “the proposition that the harm to a
constitutional right can be measured by the extent to
which it can be exercised in another jurisdiction is a
profoundly mistaken assumption.”     (internal quotation
marks,    citations,    and    alterations     omitted)).
Nonetheless, the court does not need to resolve the legal
issue of whether to consider out-of-state clinics
because, even if this court were to consider those
clinics, it would reach the same conclusion.
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    Second, while abortions before 15 weeks would remain

available in Alabama, women who would currently rely on

the Huntsville or Tuscaloosa clinics would need to travel

significantly     greater     distances.         This   burden       would

become particularly devastating for low-income women who

represent     half     of   all    abortion      recipients      and       a

significant     majority     of    women      seeking   abortions         in

Alabama.    Second Henshaw Decl. (doc. no. 54-3) ¶ 9; Katz

Decl. (doc. no. 54-11) ¶ 15.             If the Huntsville clinic

closed, a woman in Huntsville would need to travel at

least   200    miles     round-trip      to    Birmingham      for     the

next-closest abortion provider.                Without a clinic in

Tuscaloosa, a woman there would need to travel at least

110 miles round-trip to Birmingham.                Multiple studies

have concluded that longer travel distances to access an

abortion provider correlate with lower abortion rates.

Second Henshaw Decl. (doc. no. 54-3) ¶¶ 4-8, 19.                       The

court has previously discussed the serious impact of the

“first 50 miles” of travel on women seeking abortions,

and that “when a clinic closes, the largest effects are


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actually felt by women who, prior to the closure, needed

to travel only short distances, less than 50 miles.”

Planned Parenthood Se., 33 F. Supp. 3d at 1358-60.                   The

Supreme Court has also recognized that increased driving

distances,     when    taken    together      with    other    burdens,

increases    the   burdens     on   women    seeking     an   abortion.

Whole Woman’s Health, 136 S. Ct. at 2313 (citing evidence

that, after regulation took effect, the number of women

living more than 150 and 200 miles from an abortion

provider       skyrocketed).                Here,      without       the

school-proximity law, women in Huntsville and Tuscaloosa

could obtain an abortion with a short trip within the

city.    If the law were to take effect, women in those

cities would be required to arrange lengthy out-of-town

trips, including obtaining access to transportation, time

off from work, childcare, and lodging.               But not all women

have the means to do so, which would either prevent such

women from obtaining an abortion altogether or delay

their ability to obtain one.             Second Henshaw Decl. (doc.

no. 54-3) ¶¶ 14, 24 (noting that half of women who


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experience       unwanted     delay     in    obtaining      abortions

attributed the delay to arrangements such as raising

funds, transportation, locating an abortion provider, and

organizing childcare).

    Beyond the increased difficulties women would face

in accessing an abortion clinic, the three remaining

abortion     clinics    in    Alabama     would     lack    sufficient

capacity to meet the new demand.              As a result, not all

women who would want to obtain an abortion could do so.

The Huntsville and Tuscaloosa clinics have performed the

majority    of    abortions     in    Alabama     in   recent    years:

combined, they performed 72 % of all abortions in Alabama

in 2014, 60 % of all abortions in 2013, and 55 % of all

abortions in 2012.       Second Johnson Decl. Ex. D (doc. no.

54-2) at 35-37.        The three remaining clinics could not

shoulder the plaintiff clinics’ substantial caseload.

Together, the Huntsville and Tuscaloosa clinics performed

5,833 abortions in 2014, compared to 2,218 abortions

provided by the three remaining clinics.               Id. at 35.




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    The     total    maximum     capacity    for    Alabama’s       three

remaining clinics is 4,500--but that number depends on a

significant expansion in staffing and services which

seems unrealistic in light of the climate surrounding

abortion in Alabama.          For example, the Montgomery clinic

performed less than 900 abortions in 2014; stretched its

resources    to     perform    1,200    abortions    because       of   the

temporary closure of the Tuscaloosa clinic in 2015; and

estimates    that     it   could   perform    a    maximum    of    1,800

abortions per year at the outermost limit--an estimate

dependent on recruiting additional physicians and support

staff that it has previously struggled to hire because

of the stigma surrounding abortion.                Ayers Decl. (doc.

no. 54-7) ¶¶ 6-8.          The Mobile and Birmingham clinics,

which provided a combined total of 1,342 abortions in

2014, estimate that, with an expansion of capacity to

provide abortions four days per month, they could perform

2,700 abortions per year--but they too are currently

struggling     to    expand     capacity     because     of    staffing

troubles.     Fox Decl. (doc. no. 54-8) ¶ 5; Donald Decl.


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Ex. F, Induced Terminations of Pregnancy 2014 Report

(doc.   no.    81-14)    at   19.        In   addition,    none    of   the

remaining clinics have plans to expand their services to

provide abortions at or after 15 weeks.

    Beyond the statistical reality that the remaining

abortion clinics could not meet the demands of women in

Alabama if the school-proximity law were to take effect,

evidence in the record suggests that the dramatically

expanded services that would need to be provided by the

remaining clinics would be accompanied by costly side

effects. To assume otherwise flies in the face of “common

sense,” which “suggests that, more often than not, a

physical      facility   that    satisfies       a   certain      physical

demand will not be able to meet five times that demand

without    expanding     or   otherwise        incurring    significant

costs.”    Whole Woman’s Health, 136 S. Ct. at 2317.

    Also, capacity constraints, especially when combined

with the increased travel times required for women to

obtain an abortion, would introduce delays in women’s

abilities to obtain an appointment and ultimately an


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abortion.    Later-term abortions, if delayed past the 14th

week of the pregnancy, carry greater medical risks and

also increase the cost of the procedure; if the delay

extends to the 20th week of pregnancy, it would become

illegal for a woman to obtain an abortion in Alabama,

with certain exceptions for the life and health of the

mother.    Planned Parenthood Se., 33 F. Supp. 3d at 1356.

    For women in abusive relationships, delays could make

the difference between obtaining or not obtaining an

abortion at all: where a battered woman attempts to

conceal     her    pregnancy       from   her      abuser   through       a

medication abortion, she must do so in the first ten

weeks of pregnancy or risk having her abuser learn of her

abortion.         Walker   Decl.    (doc.    no.    54-9)   ¶¶   15-16.

Furthermore, the abortions that the remaining clinics

could provide likely would not equal in quality the care

provided prior to the law taking effect:               In the crowded

clinics that would surely result, women are “less likely

to get the kind of individualized attention, serious

conversation, and emotional support that doctors at less


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taxed   facilities       may   have     offered.”      Whole    Woman’s

Health, 136 S. Ct. at 2318.             These factors, too, would

impose a burden on women seeking an abortion.

    Each     of     these      factors--the      unavailability           of

abortions beginning at 15 weeks, the increased travel

times, and the reduced capacity and increased wait times

at Alabama’s three remaining clinics--establishes that

women     will    face   significantly        increased,     and    even

insurmountable, barriers to obtaining an abortion.

    Where these types of barriers exist, it is likely

that some women will pursue risky alternatives.                      Cf.

Whole Woman’s Health, 136 S. Ct. at 2321 (Ginsburg, J.,

concurring) (“When a State severely limits access to safe

and legal procedures, women in desperate circumstances

may resort to unlicensed rogue practitioners, faute de

mieux,10 at great risk to their health and safety.”);

Planned    Parenthood       Se.,   33    F.   Supp.   3d   at   1362-63

(describing greater risk that women would attempt to



    10.   This phrase, French in etymology, means “for
lack of an alternative.” Faute de mieux, Oxford English
Dictionary (2d ed. 1989).
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obtain       an   abortion       illegally       where    travel-related

obstacles and capacity constraints are imposed).                          The

Tuscaloosa        clinic   has    had     firsthand      experience     with

attempts to self-abort, including when the clinic was

temporarily closed in 2015.                    During that time, women

would    nonetheless       show    up     to    the   clinic    seeking    an

abortion--including one woman who threatened to stab

herself in the stomach.              Second Gray Decl. (doc. no.

54-1) ¶ 47.        During the same time period, the Huntsville

clinic experienced an increased number of calls from far

away women, some of whom said “outright that they would

try to self-induce an abortion because they could not

reach    a    provider.”         Second    Johnson      Decl.   (doc.     no.

54-2) ¶ 49.        Recently, Tuscaloosa’s medical director has

treated multiple women who attempted to self-abort, such

as a woman who consumed turpentine after consulting the

Internet and learning about its use as a folk remedy.11



    11. Incidentally, women in the South have resorted
to turpentine before. One study from 1936 reported that
rural black women in Georgia consumed turpentine for
self-induced abortions. Turpentine relies on ingredients

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Tr. Vol. II (doc. no. 111) 69:1-9.                  So too can Alabama

expect      an   increased      level      of   self-abortions     if   the

school-proximity law were to take effect.12

       In summary, because the Tuscaloosa and Huntsville

clinics provide more than 70 % of abortions in Alabama

and are the only providers of abortions beginning at 15

weeks of pregnancy, and because the two clinics would

have to cease operations if the school-proximity law went

into effect, the availability of abortions in Alabama

would be significantly reduced, and abortions beginning

at     15   weeks   would    become     almost    wholly    unavailable.

Thus, Alabama women attempting to obtain a pre-viability

abortion would likely experience substantial, and even




similar to those reportedly used by southern slaves
seeking to self-abort.  Jessie M. Rodrique, The Black
Community and the Birth Control Movement, in Women and
Health in America 293, 295 (Judith Walzer Leavitt ed.,
1999).

    12. Even if the clinics did not permanently close,
the temporary closure of both clinics effective January
1, 2017 would still impose the significant burdens
described above on women seeking abortions in Alabama
until each clinic could secure a new facility.
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insurmountable, burdens if the school-proximity law were

to take effect.



                                3. Balancing

      Because, as stated above, the undue-burden analysis

involves      a    balancing    test,      the   weight   given   to   the

State’s    interests        impacts    the    weight   of   the   burdens

necessary to conclude that a statute unconstitutionally

restricts abortion access.                 In other words, “the more

severe the obstacle a regulation creates, the more robust

the government’s justification must be, both in terms of

how   much        benefit    the    regulation        provides    towards

achieving the State’s interests and in terms of how

realistic it is the regulation will actually achieve that

benefit.”         Planned Parenthood Se., 9 F. Supp. 3d at 1287.

      Here,       because,     as   the     current    judicial    record

reflects, the State’s interests are so attenuated and

thus should be given little to no weight, and because,

as the current judicial record further reflects, the

school-proximity law would place substantial, and even


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insurmountable,       burdens      on     Alabama       women          seeking

pre-viability       abortions,          the     court       preliminarily

concludes    that    the   law    does        not   “confer[]      benefits

sufficient to justify the burdens upon access that [it]

imposes.”      Whole Woman's Health, 136 S. Ct. at 2299.13

The    court      thus     preliminarily            holds     that         the

school-proximity law “constitutes an undue burden on
                                                                  14
abortion access” and is unconstitutional.                   Id.



                 4. The State’s Other Arguments

      In its attempt to justify its regulatory approach,

the State argues that governments routinely regulate the



    13.    While the court finds that the State’s
justifications for the school-proximity law are weak, the
court must emphasize that its conclusion does not turn
solely on that finding. In the alternative, the court
further finds that the justifications are by no means
sufficiently strong to justify the obstacles that the
requirement would impose on women seeking an abortion.

    14.    The issue has arisen as to whether the
school-proximity law is both as-applied and facially
unconstitutional. The court need not resolve this issue
at this time. It is sufficient that, for now, the court
simply preliminarily enjoins the law’s enforcement
against the Tuscaloosa and Huntsville clinics.

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types      of   businesses      that    may   operate     near    schools,

relying principally on First Amendment challenges to

zoning decisions.          See, e.g., Def. Br. (doc. no. 81) at

44 (“‘[T]here can be little doubt about the power of a

state to regulate the environment in the vicinity of

schools ... by exercise of reasonable zoning laws.’”

(quoting Larkin v. Grendel’s Den, Inc., 459 U.S. 116, 121

(1982)).        That argument misapprehends the nature of the

undue-burden analysis.            As the Supreme Court reaffirmed

in     Whole    Woman’s     Health,     the    undue-burden       analysis

requires the court to consider, based on the judicial

record, “the burdens a law imposes on abortion access

together with the benefits those laws confer.”                      136 S.

Ct. at 2309.         That analysis must have bite: It would be

erroneous to “equate the judicial review applicable to

the regulation of a constitutionally protected liberty

with      the   less    strict     review     applicable        where,    for

example, economic legislation is at issue.”                        Id.       In

zoning cases, by contrast, the government’s authority is

“undoubtedly        broad,”     and    “the   standard     of    review      is


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determined        by    the   nature       of   the    right    assertedly

threatened or violated rather than by the power being

exercised or the specific limitation imposed.”                     Schad v.

Borough of Mount Ephraim, 452 U.S. 61, 68 (1981).                       Thus,

in government regulation of liquor establishments in the

vicinity        of     schools,     “judicial         deference    is     the

watchword.”          Davidson v. City of Clinton, Miss., 826 F.2d

1430, 1433 (5th Cir. 1987) (approving restriction on sale

of alcohol within 500 feet of a school, as applied to a

nightclub).          Where constitutionally protected interests

are threatened, by contrast, the State’s cited examples

for government regulation of the areas around schools do

not withstand scrutiny.             See, e.g., Larkin, 459 U.S. at

117      (invalidating,       on    Establishment        Clause       ground,

statute that delegated authority to schools and churches

to     veto    liquor     licenses     within     500    feet     of    their

premises).

       Similarly,       the    State’s      reliance      on    the     First

Amendment ‘secondary effects’ doctrine of City of Renton

v.     Playtime      Theatres,     Inc.,    475   U.S.    41    (1986),      is


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mistaken.    In that case, the Supreme Court upheld a city

ordinance prohibiting adult movie theatres from operating

within 1,000 feet of a school because the ordinance

advanced    the    State’s      interests        in    eliminating     the

“undesirable secondary effects” of the theatres, such as

crime, hurting retail trade, and depressing property

values.     475 U.S. at 48-49.            The State asserts that it

too   has   an    interest    in    regulating         “the    undesirable

secondary     effects”     of      abortion      clinics,       implicitly

because of demonstrations and the impact on children who

witness them.      Def. Br. (doc.          no. 81) at 47.         But the

secondary-effects doctrine justifies State actions that

would       otherwise        constitute           an      impermissible

content-based infringement of First Amendment rights;

that is, it is an argument specific to a First Amendment

claim, but such a claim is not currently before the court.

Further, the Supreme Court has squarely rejected the

doctrine’s applicability to speech viewed as disturbing

or offensive, specifically concluding that “[l]isteners’

reactions    to   speech     are    not    the   type     of    ‘secondary


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effects’ we referred to in Renton.”                      Boos v. Barry, 485

U.S. 312, 321 (1988); accord Reno v. Am. Civil Liberties

Union, 521 U.S. 844, 867-68 (1997) (rejecting application

of     Renton’s         secondary-effects            doctrine         to   statute

intended to protect children from offensive speech).

Thus,      even    under     Renton,         the    State     could    not    force

abortion clinics to relocate based on parents’ reactions

to protestor speech.

       Moreover, if the State seeks to regulate the areas

around       schools,       other       approaches          could     effectively

advance its asserted interests.                      For example, the State

could       have     enacted        a    “time,       place,        and    manner”

restriction on demonstrations outside facilities “where

abortions         are     offered       or    performed.”           McCullen     v.

Coakley, 134 S. Ct. 2518, 2530-32 (2014) (approving such

a     buffer       zone    because           it    advanced     public       safety

objectives in light of evidence of crowding, obstruction,

and violence).            It is undoubtedly the province of the

legislature, and not this court, to prescribe the most

appropriate         regulatory          approach.           Nevertheless,       the


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availability of alternative means more likely to achieve

the   State’s      asserted   interests     confirms      the   court’s

conclusion that little weight should be placed on an

approach that does not substantially further the State’s

interests      and,   in   addition,      imposes     a    substantial

obstacle on a woman’s right to obtain an abortion.

      The     court’s      preliminary        holding       that     the

school-proximity law is unconstitutional still obtains.



                           B. Irreparable Harm

      The court now turns to whether the plaintiffs have

established irreparable harm. Effective January 1, 2017,

if the school-proximity law were to go into effect, the

Tuscaloosa and Huntsville clinics would have to lay off

staff and close their businesses.                Second Gray Decl.

(doc. no. 54-1) ¶ 5; Johnson Decl. (doc. no. 54-2) ¶ 3.

Indeed,      the   Tuscaloosa    clinic     would    stop    providing

abortions and begin to wind down operations in November

2016.       Second Gray Decl. (doc. no. 54-1) ¶¶ 5, 37-38.

Business closure clearly qualifies as irreparable harm.


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ABC Charters, Inc. v. Bronson, 591 F. Supp. 2d 1272, 1307

(S.D. Fla. 2008) (Gold, J.) (finding irreparable harm

where evidence showed that plaintiffs would have to close

their businesses as a result of the law).15

       Moreover,        Alabama     women     seeking      pre-viability

abortions would suffer immediate and irreparable harm as

described above.          Without injunctive relief, they could

no     longer    obtain    an    abortion    beginning      at   15   weeks

anywhere in Alabama.            Before 15 weeks, women in Alabama’s

second largest metropolitan area would need to travel at

least 200 miles round-trip to obtain an abortion in

Alabama,        while     women     in     Alabama’s     fifth     largest

metropolitan area would need to travel at least 110 miles

to do so; and the resulting burdens on Alabama’s three




    15. The     ABC   Charters   court   concluded   that
irreparable harm would result from the closure even
though it would occur in part because of the particular
financial circumstances of the business: it was a “small
family-run company” and was the “primary source of income
on which [the proprietor and his wife] had planned to be
able to retire.” 591 F. Supp. 2d at 1307. The court
concluded that the proprietor could not afford the
increased costs from the regulation and would, in
actuality, close.
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remaining clinics would introduce significant delays to

obtaining an abortion, translating into reduced quality

of care, increased risk of medical complications, and for

some women, no access to an abortion until, for reasons

of health or law, it is too late.                  See Harris v. Bd. of

Supervisors, L.A. Cty., 366 F.3d 754, 766 (9th Cir. 2004)

(concluding that medical complications due to delayed

treatment will cause irreparable harm in absence of an

injunction).           Even if, against all record evidence, one

of the clinics should reopen or a new clinic opens to

fill the gap, the likelihood of at least a temporary gap

of     “unknown     duration”        in   which    abortions      would      be

unavailable        supports      a   finding      of    irreparable   harm.

Planned Parenthood of Wis., 738 F.3d at 795.

       Finally,      by    interfering     in     women’s    right    to     an

abortion,        the      school-proximity        law    threatens    their

constitutionally protected privacy rights.                   “[T]he right

of     privacy     must     be   carefully      guarded     for   once       an

infringement has occurred it cannot be undone by monetary

relief.”       Deerfield Med. Ctr. v. City of Deerfield Beach,


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661 F.2d 328, 338 (5th Cir. Unit B 1981).16                          And, where

an     ongoing      threat       to   the      right    of   privacy    exists,

irreparable         harm    is    presumed.            Ne.   Fla.   Chapter   of

Associated Gen. Contractors v. City of Jackson, 896 F.2d

1283, 1285 (11th Cir. 1990).                   Thus, in Deerfield Medical

Center, a denial of a license to open an abortion facility

in     a   manner    that    was        likely    to    be   unconstitutional

mandated a finding of irreparable injury.                           661 F.2d at

338.

       For all these reasons, the plaintiffs have met their

burden      of   showing         that    a     preliminary     injunction     is

necessary to avoid irreparable injury.




    16. Deerfield Medical Center is binding precedent
in the Eleventh Circuit.   See Doe v. Busbee, 684 F.2d
1375, 1379 n. 2 (11th Cir. 1982) (as Deerfield Medical
Center was decided by a Unit B panel of the former Fifth
Circuit, the Eleventh Circuit “‘regards the decision as
binding precedent ...’”) (quoting Stein v. Reynolds
Securities, Inc., 667 F.2d 33, 34 (11th Cir. 1982)).
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                     C. Balance of the Hardships

    The court turns next to whether the threatened harm

to the plaintiffs outweighs whatever damage or harm a

proposed injunction may cause the State.

    The     State   has   not    asserted     it    will          suffer   any

hardships if the school-proximity law were preliminarily

enjoined.     Nevertheless and presumably, the hardship it

would suffer is that a law passed by legislators will not

go into effect.       This harm is minor given the temporary

nature of a preliminary injunction.                Planned Parenthood

Se., Inc. v. Bentley, 951 F. Supp. 2d 1280, 1290 (M.D.

Ala. 2013) (Thompson, J.).              Further, because the State

has not currently demonstrated that its interests are

meaningfully        threatened      or     that         the       law      will

substantially       further     those     interests,          a    delay     in

implementation will not impose a serious hardship to the

State.

    In contrast, as stated, if the law were to go into

effect,   the    plaintiffs      would    have     to    stop      providing

abortions before January 1, 2017, and, based on the


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current record, would close their doors.                Women seeking

an abortion will face substantial new obstacles following

the closure, including the denial of abortions beginning

at 15 weeks and accompanying health risks associated with

reduced and delayed access to abortion care.               Because the

plaintiffs have shown concrete and serious harms, while

the   State   faces    only    speculative      harms    and   has   not

demonstrated the law will help it achieve its asserted

State interests, the balance of hardships weighs heavily

in the plaintiffs’ favor.



                           D. Public Interest

      Finally, the court addresses whether a preliminary

injunction is in the public interest.              Without question,

it is in the public interest to preserve the status quo

and give the court an opportunity to evaluate fully the

lawfulness of the school-proximity law without subjecting

the plaintiffs, their patients, or the public at large

to any of its potential harms.            Further, the public has

no interest in the enforcement of a statute likely to be


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unconstitutional.       Odebrecht Const., Inc. v. Sec’y, Fla.

Dep’t of Transp., 715 F.3d 1268, 1290 (11th Cir. 2013).

Finally, as stated, the State has not demonstrated that

the school-proximity law meaningfully furthers interests

in avoiding disturbance in educational environments or

protecting children from the subject of abortion.                         In

fact, it is ironic that the State would assert that one

of the purposes behind the school-proximity law is to

minimize disruption in the educational environment, for

the current record reflects that the effect of the law

has been the opposite, the encouragement of disruption.

The law has essentially rewarded the protesters with the

intended goal of their disruption: the harassing, and

even closing, of the clinics.           The message of the law is

arguably that the greater the disruption, the greater the

likelihood that the State will react with laws to curb

that disruption by placing additional restrictions on the
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clinics.



    17.   Nevertheless, even if the demonstrations in
Huntsville could be viewed as justifying the passage of

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                        V. THE FETAL-DEMISE LAW

            The    court       now   turns         to   whether    it   should

preliminarily enjoin enforcement of the fetal-demise law.

      The      Alabama         Unborn        Child       Protection          from

Dismemberment Abortion Act, which the court calls the

fetal-demise        law,       imposes        a     criminal      penalty      on

physicians        who      purposely              perform    ‘dismemberment

abortions,’ defined as “dismember[ing] a living unborn

child and extract[ing] him or her one piece at a time

from the uterus through use of clamps, grasping forceps,

tongs, scissors, or similar instruments.”                      1975 Ala. Code

§   26-23G-2(3).           A   health        exception      applies     if    the

physician in reasonable medical judgment decides that

“the child's mother has a condition that so complicates

her medical condition that it necessitates the abortion




the school-proximity law, its 2000-foot restriction is
grossly overreaching.    As the overwhelming evidence
demonstrates, there is no evidentiary basis for the
Tuscaloosa clinic to cease operation at its current
location because it falls within 2,000 feet of a middle
school or for the Huntsville clinic to cease operation
at its current location because it falls within 2,000
feet of Highlands Elementary School.
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of her pregnancy to avert her death or to avert serious

risk of substantial and irreversible physical impairment

of a major bodily function, not including psychological

or emotional conditions.”         1975 Ala. Code. § 26-23G-2(6).

A physician found to be in violation of this law may face

a civil suit or a criminal penalty, consisting of a fine

up to $ 10,000, imprisonment for up to two years, or

both.   While not mentioned explicitly in the language of

the law, the parties agree that it would ban the standard

D&E method, if used without first inducing fetal demise.18

    Standard D&E is a surgical abortion method in which

a woman’s cervix is dilated only enough to allow passage

of surgical instruments, after which the physician uses

forceps to grasp the fetus and remove it, and uses suction




     18. The law does not use or define the term ‘fetal
demise’ or explain how fetal demise should be determined.
The parties appear to agree that the fetus would no longer
be considered “living” under the law when asystole, or
the termination of a heartbeat, occurs, and they used the
term ‘fetal demise’ to denote that occurrence. The court
likewise uses the term to mean termination of the fetal
heartbeat.


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to     remove     remaining    contents      of    the   uterus.19    It     is

important to open the cervix gently, and then only a

small amount, for safety reasons and to preserve it for

future pregnancies. Tr. Vol. I (doc. no. 110) at 16:5-12.

Because the opening of the cervix is too small for the

entire fetus to pass, separation of fetal tissues occurs

during the process of removing the fetus. Id. at 17:6-14.

Due to this separation of tissues, standard D&E falls

under      the    category    of    ‘dismemberment       abortions,’         as

defined in the fetal-demise law.                  Physicians start using

the standard D&E procedure around 15 weeks of pregnancy,

before      which    they     can   remove    the     fetus   using    only

suction.         The procedure takes between 10 to 15 minutes.

Id. at 17:15-16.



    19. The court uses the term ‘standard D&E’ in order
to distinguish it from ‘intact D&E,’ sometimes called
‘D&X,’ which involves dilating the cervix enough to
remove the whole fetus intact. ‘Intact D&E’ is banned
under the Federal Partial-Birth Abortion Ban Act of 2003,
unless fetal demise is induced before the procedure. See
Gonzales v. Carhart, 550 U.S. 124 (2007) (upholding the
federal partial-birth abortion ban).    Furthermore, the
court refers to standard D&E as the procedure that does
not include induced fetal demise.

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       Standard D&E is considered an extremely safe abortion

method,       with     a     less       than     1     %        chance     of   major

complications.           Id. at 17:17-18.             Due to its low risk of

complications, relative simplicity, and short duration,

it     is    the     most    common        method          of    second-trimester

abortions in Alabama; in fact, it is the only method that

the Tuscaloosa and the Huntsville clinics use to perform

abortions at or after 15 weeks of pregnancy.                                    Parker

Decl. (doc. no. 54-6) ¶ 14; Robinson White Decl. (doc.

no. 54-4) ¶¶ 20, 22-25.                 D&E is the only second-trimester

abortion       method       that    can     be   used           in   an    outpatient

setting.20         Tr.      Vol.    I    (doc.       no.    110)      at    189:8-11.



    20. The     only    other   abortion    method    for
second-trimester abortion is the induction method, where
a physician uses medication to induce labor and deliver
a non-viable fetus over the course of hours or even days.
Tr. Vol. I (doc. no. 110) at 12:20-13:30.       Induction
procedures are more expensive, difficult, and stressful
for the patient. Furthermore, state regulations do not
allow outpatient clinics to initiate an abortion
procedure that may entail more than 12 hours of clinical
involvement, meaning that it must be performed in a
hospital. Tr. Vol. II (doc. no. 111) at 43:8-24. As a
result, induction is essentially unavailable to women
seeking second-trimester abortions in Alabama, and the
State has not suggested otherwise. See supra note 1.

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Nationally, about 95 % of second-trimester abortions are

performed through standard D&E.               Davis Decl.      (doc. no.

54-5) ¶ 7. In Alabama, the Tuscaloosa and Huntsville

clinics are the only ones providing abortions starting

at 15 weeks of pregnancy.



           A. Likelihood of Success on the Merits

       The court must first determine whether there is a

likelihood that the plaintiffs will succeed on their

challenge     to     the    fetal-demise        law.          The   Casey

undue-burden       standard,   described       previously,      governs.

Put succinctly, “[a] statute which, while furthering [a]

valid    state     interest,    has     the    effect    of   placing     a

substantial obstacle in the path of a woman's choice

cannot be considered a permissible means of serving its

legitimate ends.”          Whole Woman's Health, 136 S. Ct. at

2309    (quoting     Casey,     505     U.S.     at     877   (plurality

opinion)).       Thus, abortion regulations that “have the

purpose or effect of presenting a substantial obstacle

to a woman seeking an abortion impose an undue burden on


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the    right.”        Id.    (quoting      Casey,    505    U.S.     at    878

(plurality opinion)).           For the reasons discussed below,

the court holds that the plaintiffs are likely to succeed

on the merits of their challenge to the fetal-demise law.



                        1. State’s Interests

       Because   no     legislative         findings       accompany       the

fetal-demise law, the court does not have an explanation

from    the   legislature        of   the     purpose      for   the      law.

Nevertheless, the State argues that the law advances

these    interests:         advancing      respect   for     human     life;

promoting integrity and ethics of the medical profession;

and promoting respect for life, compassion, and humanity

in society at large.21          The court assumes the legitimacy

of these interests.           Whole Woman’s Health, 136 S. Ct. at

2310    (assuming      that    the    State    had   legitimate        state



    21. It is worth noting that the State does not argue
that the ban on dismemberment abortion is designed to
avoid fetal pain.    Fetal pain is not a biological
possibility until 29 weeks, well beyond the range of
standard D&E procedures and beyond the legal limit of
abortion in the state of Alabama; the State does not
dispute this. Tr. Vol. I (doc. no. 110) at 138:1-6.
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interests      where    the     statute      did    not      contain      any

legislative findings).



                    2. Burdens Imposed on Women

      The plaintiffs assert that the fetal-demise law would

force Alabama women seeking pre-viability abortions to

go through medically unnecessary procedures and subject

them to heightened health risks.             Furthermore, they state

that, if the law were to go into effect they would stop

performing      D&E    abortions      altogether       due      to    ethical

concerns,      thereby       rendering       abortions          essentially

unavailable in the State of Alabama starting at 15 weeks.

The   State    responds      that    fetal    demise      can    be    safely

achieved before standard D&E with one of these three

procedures:         umbilical-cord           transection,             digoxin

injection,      and     potassium-chloride          injection.             As

discussed     earlier,    the       fetal-demise    law      criminalizes

standard      D&E   unless    fetal       demise   occurs       before    the

procedure;      accordingly,          the    court’s       determination

whether the law imposes substantial obstacles to abortion


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access    turns     on   the     feasibility      of    the    proposed

fetal-demise methods.

    As with the State’s asserted interests, there are no

legislative findings that these procedures are safe and

effective.     In any event, this court must now, based on

the “judicial record,” make its own findings in that

regard.    See Whole Woman's Health, 136 S. Ct. at 2310

(“[T]he relevant statute here does not set forth any

legislative findings.          Rather, one is left to infer that

the legislature sought to further a constitutionally

acceptable objective.... For a district court to give

significant weight to evidence in the judicial record in

these circumstances is consistent with this Court's case

law.”).   The court concludes that, on the current record,

the proposed fetal-demise methods are not feasible for

use in the Tuscaloosa and Huntsville clinics.



                  a. Umbilical-Cord Transection

    To perform umbilical cord transection incident to

standard D&E, the physician must first dilate the woman’s


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cervix enough to allow the passage of instruments to

transect the cord.          Once the cervix is dilated, the

physician uses the ultrasound machine to visualize the

umbilical cord.      As both parties’ experts testified, the

physician then punctures the amniotic membrane, inserts

an instrument into the uterus, and tries to find the cord

with a surgical instrument and cut it.                   The physician

must then wait for the fetus to achieve asystole, or

cessation of heart activity.            Tr. Vol. I (doc. no. 110)

at 77:13-21; Tr. Vol. II (doc. no. 111) at 123:8-124:18.

Once asystole has occurred, the physician can perform

standard D&E, removing fetal tissues and other contents

of pregnancy.

    The court finds that, for the following reasons, the

umbilical cord transection procedure is not a feasible

method of causing fetal demise before standard D&E.

      (i)    Multiple       factors      make     cord     transection

technically difficult before a standard D&E procedure:

(1) lack of visualization; (2) continuous shrinking of

the uterus; and (3) the size of the umbilical cord.


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First, before the amniotic membrane is punctured, the

physician is readily able to visualize the fetus and the

umbilical cord due to the contrast on the ultrasound

between the amniotic fluid and the uterine and fetal

tissue.      However,     when    the     membrane    surrounding       the

amniotic    sac    is   punctured        at   the   beginning     of    the

procedure, the amniotic fluid drains from the uterus.

Once the fluid has drained, it is much more difficult to

visualize the location of the umbilical cord. Tr. Vol. I

(doc. no. 110) at 77:16-78:17. Second, as the fluid

drains, the uterus contracts, pushing the contents of the

uterus against each other.             In other words, the physician

must    identify,    reach,      and    transect     the   cord   with     a

surgical instrument without any visualization aid or

space    between    different      types      of    tissues.      Id.     at

77:16-78:17.       Third, depending on the gestational age,

the cord may be very thin; at 15 weeks, it is the width

of a piece of yarn.22         Furthermore, as the fluid drains



    22.   Two thirds of patients in Alabama undergo
standard D&E during 15 to 18 weeks of pregnancy. Donald

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out of the uterus, the cord may become flaccid, making

it harder to find .        Id. at 77:16-78:17.

       (ii) Cord transection is not a feasible method for

women seeking second-trimester abortion also because it

carries     significant        health    risks    to    the         patient,

including     blood     loss,    infection,      and   injury         to   the

uterus.     See Gonzales, 550 U.S. at 161 (reiterating the

Court’s jurisprudence that abortion regulations that pose

“significant health risks” are unconstitutional).                       Every

time    a   physician      introduces    an    instrument           into   the

uterus,     there     is   a    risk    of    infection        or     uterine

perforation; this risk increases with every pass of the

instrument.      Tr. Vol. I (doc. no. 110) at 80:1-16.                      As

performing cord transection involves searching blindly

for the umbilical cord, the risk of complications would

be greater than when performing standard D&E alone.                        But

far more concerning is the risk of serious blood loss.

One of the plaintiffs’ experts testified that she and her



Decl. Exs. A-C, Induced Terminations                      of        Pregnancy
Occurring in Ala. (doc. no. 81-14).

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colleagues tried using umbilical-cord transections in a

hospital to induce fetal demise before performing intact

D&E,   but    stopped    because     of   concerns     about    patient

safety.      In their experience, it took as long as 13

minutes after cutting the cord for the heartbeat to stop;

and, while waiting for the fetal heart to stop, the

patients were having contractions, undergoing placental

separation, and losing blood, which caused the physicians

great concern.      Tr. Vol. I (doc. no. 110) at 82:21-83:11.

As a result, the expert and her colleagues abandoned the

idea of using cord transection as a standard practice

before intact D&E, and now use it only under uncommon




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circumstances when they have no other options.23                 Id. at

83:4-15.24




    23. The State argues that the law’s health exception
would apply were a physician to attempt to transect the
umbilical cord and fail, because the patient would then
be in serious risk of irreversible impairment to major
bodily functions.   It is not apparent that the health
exception was designed to apply in this way. However, the
court need not resolve this issue at this time, because
it finds that the procedure would still be unavailable
to women in Alabama, even if the health exception were
to apply to every instance of a failed cord transection,
for the reasons set forth in this section.

    24. The court makes these general findings regarding
two of the experts who testified at the hearing.      Dr.
Anne Davis, one of the plaintiffs’ experts, was highly
credible   and   extremely   knowledgeable    about   the
fetal-demise methods and the provision of abortion in the
outpatient clinic setting such as the Tuscaloosa and
Huntsville clinics. In contrast, the court found that
Dr. Joseph Biggio, the State’s expert, has expertise in
the provision of potassium-chloride injections in an
academic medical center, but that he had significantly
less expertise than the plaintiffs’ experts on abortion
in general, because he does not in any sense specialize
in abortion.      In particular, he did not evince
significant knowledge of the provision of abortion in
outpatient clinic settings, and his testimony as to
digoxin injection and umbilical cord transection was
largely theoretical and not based on experience.
Accordingly, the court gave his testimony less weight in
those areas.


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    These concerns would be amplified in the Tuscaloosa

and Huntsville clinics because of the outpatient setting

in which they operate.25        Unlike physicians practicing in

hospitals, the clinic physicians do not have access to

blood services for patients at risk of serious blood

loss, nor do they have access to subspecialists such as

anesthesiologists;        medical       equipment     at    outpatient

clinics is not as advanced as what is available in

tertiary-care hospital settings.26            Tr. Vol. I (doc. no.

110) at 236:9-18.



    25. The court rejects the defense expert’s testimony
that umbilical cord transection would be feasible in the
Tuscaloosa and Huntsville clinics, in part because of the
differences between the type of specialized hospital
where he practices and the clinics. The expert, who
practices at a major academic hospital, testified that
with a certain type of advanced ultrasound machine, a
physician should be able to locate the umbilical cord
easily; however, the Tuscaloosa and Huntsville clinics
do not have these advanced ultrasound machines suitable
for academic hospitals, and these devices cost about
$50,000 to $100,000.     Tr. Vol. I (doc. no. 110) at
43:10-13, 198:16-199:9.

    26. Tertiary care is defined as “highly specialized
medical care usually over an extended period of time that
involves advanced and complex procedures and treatments
performed by medical specialists in state-of-the-art

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    (iii)         Umbilical cord transection also is not a

feasible method because it is essentially an experimental

procedure    that       carries    no    medical      benefits   to   the

patient.          The    State     argues      that    umbilical      cord

transection is a viable, safe option before standard D&E

based on a single study--indeed, the only existing study

that has examined umbilical cord transection as a method

for fetal demise before D&E.             But the study raises more

questions than it answers.

    The study suffers from several flaws that render it

unreliable.       First, the article was a retrospective case

series    study,    which    means      that   the    researchers     were

trying to answer a question by going through medical

records after the data was collected for purposes other

than research.          While not the least reliable type of

study, it is one of the least reliable.                     Because the

study    relies    on    medical    records     from    a   non-research




facilities.”
http://www.merriam-webster.com/dictionary/tertiary%20ca
re.

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context, there is no way of knowing how the underlying

data was collected, or what data was omitted from the

records.    Tr. Vol. I (doc. no. 110) at 84:3 20. The study

states that close to 10% of the original study group was

excluded for incomplete records.                  Tocce, Kristina, et

al., Umbilical Cord Transection to Induce Fetal Demise

Prior to Second-Trimester D&E Abortion, 88 CONTRACEPTION

712, 713 (2013) (doc. no. 81-13).

      Further, because of the study design, the article is

missing    details     that    would      reliably     establish        risk

levels.    It does not have a control group, meaning that

there is no way to compare the outcomes of the group that

received cord transection and the group that did not

receive cord transection.           The study also does not report

how much time or how many passes it took to successfully

grasp and transect the cord in each case; as explained

above, the more passes with instruments in the uterus,

the   greater    the    risk   of     injury      to   the   uterus      and

infection.        Finally,      the       study    does      not   report

week-by-week     distribution        of   gestational        age   of   the


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subjects,     even       though    the           success     rate     of    cord

transection procedures would be expected to vary across

the gestational age due to the size of the umbilical

cord.      Tr.    Vol.      I   (doc.       no.    110)    at   83:23-86:13;

125:14-22.

      Moreover, it is not at all clear that the resources

of where the transections in the study were performed are

comparable to those of the Tuscaloosa and Huntsville

clinics.          The       patients        in     the     study    underwent

intracervical anesthetic blocks and IV sedation during

the   cord   transection         and    D&E       procedures,       which   are

unavailable at the Tuscaloosa and Huntsville clinics.

Tr. Vol. I (doc. no. 110) at 236:14-18; Tocce, Kristina,

et al., Umbilical Cord Transection to Induce Fetal Demise

Prior to Second-Trimester D&E Abortion, 88 Contraception

712, 713 (2013) (doc. no. 81-13).                       Comparing the study

conditions       to   the    Tuscaloosa           and    Huntsville    clinics

appears to be like comparing apples to oranges; the study

provides paltry evidence as to the safety of performing

the procedure in the Alabama clinics.


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      In sum, cord transection carries serious risks, but

insufficient research has been conducted to quantify

those risks.           Requiring cord transection before standard

D&E would force physicians to perform a procedure without

much, if any, information about the likelihood of harm

to the patient.            Further, the law would force women to

accept an uncertain, potentially grave risk of harm as

the    cost        of     undergoing        standard     D&E,        which     is

well-documented for its low risks.                       The court simply

cannot    countenance          requiring      thousands        of    women     to

undergo      a    risky    procedure      based     on   one    questionable

study.           Planned    Parenthood       of    Central      Missouri       v.

Danforth,        428    U.S.   52,   79     (1976)     (striking       down    an

abortion method ban where the alternatives proposed by

the State were largely experimental and unavailable to

women in the state).

      (iv)       This   risk   of    harm     validates      the     plaintiff

physicians’        credible     testimony         that   they       would    stop

providing standard D&E if they were required to perform

fetal demise procedures before standard D&E.                        Tr. Vol. I


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(doc. no. 110) at 212:4-14; Tr. Vol. II (doc. no. 111)

at 48:24-49:6.     Physicians have an ethical obligation not

to subject patients to potentially harmful procedures

without any medical benefit.               The court finds that, due

to these ethical concerns and the uncertain risk of harm,

the plaintiff physicians are unlikely to continue to

perform abortions at or after 15 weeks if required to use

fetal-demise procedures.

       (v) Cord transection is not a feasible fetal-demise

method because training is unavailable.                 Given that cord

transection is an experimental, technically difficult,

and    risky   procedure,      physicians       would    need   training

before    performing      it    on        patients.      However,     the

physicians at the Tuscaloosa or Huntsville clinics have

not been trained in the procedure, and it is unclear on

the current record how they would get training.                   Because

cord    transection     is     not   a     common     procedure    before

standard D&E, it would be difficult for physicians to

even find cases to observe, especially in the early part




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of the second trimester.           Tr. Vol. I (doc. no. 110) at

79:19-25.

       The technical difficulties of performing umbilical

cord transection, the potential for serious harm, the

lack of sufficient research on risks associated with the

procedure,     and    the    unavailability       of    training     all

indicate that umbilical cord transection would impose

substantial obstacles to women’s right to terminate a

pregnancy before viability if the fetal-demise law were

to go into effect.          Because the procedure is too risky,

it is simply not a feasible option for the Tuscaloosa and

Huntsville clinics.

       The court is troubled by the State’s argument that

women should be required to undergo this inadequately

studied, potentially risky procedure.               Indeed, would we

want    ourselves     or    our   families      (our    partners     and

children) to undergo a medical procedure for which the

documented safety and effectiveness is comparably lacking

and there is no potential medical benefit?                If not, why




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should     we   ask    otherwise        of   Alabama   women    seeking

pre-viability abortions?



                           b. Digoxin Injection

    To inject digoxin, physicians begin by using an

ultrasound machine to visualize the woman’s uterus and

the fetus.      The physician then inserts a long surgical

needle through the patient’s skin, abdomen, and uterine

muscle, in order to inject digoxin into the fetus.                        If

the attempt to inject into the fetus fails, the physician

may inject digoxin into the amniotic fluid, but evidence

suggests    this      is    generally    less   effective.      Digoxin

injection, when it works, takes up to 24 hours to stop

the fetal heart.            Physicians cannot accurately predict

how long digoxin will take to work in a given patient.

Tr. Vol. I (doc. no. 110) at 59:25-60:11, 68:6-9. Digoxin

injections are painful and invasive because they are

administered       through     a   transabdominal      needle   without

anesthesia.        Tr. Vol. I (doc. no. 110) at 44:12-22,

75:25-76:6, 196:3-6.


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       The court concludes that digoxin injections are not

a   feasible      method       of    causing   fetal    demise     for   the

following reasons.

       (i) Digoxin injections are not reliable for inducing

fetal demise.        When injected into the fetus or amniotic

fluid, digoxin has a failure rate ranging between 5 % and

15 %.     Tr. Vol. I (doc. no. 110) at 64:1-8; Tr. Vol. II

(doc. no. 111) at 142:4-10.                 Furthermore, a variety of

factors, such as uterine positioning, fetal positioning,

obesity, and the presence of uterine fibroids, can affect

whether the physician is actually able to inject digoxin

into    the    fetus      or   the    amniotic   fluid      successfully.

First, obesity can make it difficult for physicians to

guide the needle through the abdomen into the uterus, for

two    reasons:     the    additional       tissue     in   the   patient’s

abdomen reduces the quality of the ultrasound images,

making it more difficult to find the fetus; and the needle

must travel through more tissue in order to get to the

uterus.       Tr. Vol. I (doc. no. 110) at 40:11-20, 61:1-6;

Tr. Vol. II (doc. no. 111) at 139:3-16.                       Many of the


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Tuscaloosa and Huntsville clinics’ patients are obese;

the medical director for the Huntsville clinic testified

that about 40 % of her patients are obese.                  Tr. Vol. I

(doc. no. 110) at 197:1-2; Tr. Vol. II (doc. no. 111) at

61:17-19.      Second, fetal and uterine positioning can

affect whether the physician is able to get to the fetus

or the amniotic fluid with a needle.               Tr. Vol. I (doc.

no. 110) at 61:18-25.        Third, uterine fibroids, which are

benign tumors on the uterine walls affecting over half

of women, can get in the needle’s way, because they can

become calcified and impenetrable. Tr. Vol. I (doc. no.

110) at 40:21-41:4, 61:18-23, 197:3-4.             All four of these

factors can make it difficult--or even impossible--for

the needle to reach the fetus or the amniotic fluid.27



    27.   The State contends, based on the analysis in
Gonzales, that women who are unable to obtain abortion
due to their anatomy should bring an as-applied
challenge.   In that case, the Court stated that an
as-applied challenge would be appropriate if “in discrete
and well-defined instances a particular condition has or
is likely to occur in which the procedure prohibited by
the Act must be used,” where “the nature of the medical
risk can be better quantified and balanced than in a
facial attack.” Gonzales, 550 U.S. at 167. However, the

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    (ii) Digoxin injections are experimental for women

before 18 weeks of pregnancy, and most second-trimester

abortions in Alabama are performed before 18 weeks of

pregnancy.     Donald Decl. Exs. A-C, Induced Terminations

of Pregnancy Occurring in Ala. (doc. no. 81-14) (showing

that approximately two thirds of abortions at or after

15 weeks occur between 15 to 18 weeks).              The majority of

studies on digoxin injection focus on pregnancies at or

after 18 weeks: only a few studies have included cases

at 17 weeks, and no study has been done on the efficacy,

dosage, or safety of injecting digoxin into women before

17 weeks of pregnancy.           Tr. Vol. I (doc. no. 110) at

67:7-14; II-143:18-25.           As with the unknown risks of

umbilical cord transection, requiring digoxin injection

before 18 weeks of pregnancy would force women to go



record here identifies a set of widespread conditions,
any one or combination of which could make it impossible
to complete a digoxin injection. This means that the
feasibility of digoxin injection for a given patient
likely cannot be determined until a physician attempts
the injection. In other words, there is no “discrete and
well-defined” class of women for whom digoxin injection
would be impossible who could bring an as-applied
challenge.
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through   an   experimental,       potentially      harmful     medical

procedure without any counterbalancing benefits.

    As mentioned above, a first dose of digoxin does not

succeed in inducing fetal demise 5 to 15 % of the time.

However, as with digoxin before 18 weeks, there is no

study establishing appropriate dosage, potential risks,

or time to fetal demise for the administration of a second

injection of digoxin.           Tr. Vol. II (doc. no. 111) at

142:12-25.     The State argued that, in those 5 to 15 % of

cases where an initial digoxin injection failed, the

physician could try a different method of fetal demise.

But, as discussed in this opinion, there are no other

viable methods.28



    28.    One of the plaintiffs’ experts stated that
between 2007 and 2011, in order to avoid the risk of
violating the federal partial-birth abortion ban, his
former employer required digoxin injections for abortions
at or after 20 weeks.     Tr. Vol. II (doc. no. 111) at
82:5-12.    The expert explained that this practice is
distinguishable from legally requiring digoxin use before
all standard D&E, because in the case of elective digoxin
use, when the first dose failed, he could stop attempting
fetal demise and perform standard D&E without facing
criminal liability. Therefore, he was not required to
perform an experimental procedure of injecting digoxin

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    (iii) Even when administered successfully with one

dose at or after 18 weeks, digoxin injections carry

significant health risks.          The parties’ experts agreed,

and the court so finds, that digoxin injections are

associated with heightened risks of extramural delivery,

infection, and hospitalization, compared to standard D&E

alone: digoxin injection is six times more likely to

result in hospitalization compared to injection of a

placebo; it carries an increased risk of infection; and

it is twice as likely than amniocentesis29 to result in

extramural     delivery,     the    unexpected      and    spontaneous

expulsion of the fetus from the uterus while the woman

is outside of a clinic setting without any medical help.

Tr. Vol. I (doc. no. 110) at 69:11-17; Tr. Vol. II (doc.



before 18 weeks, or injecting a second dose.   In any
event, this issue likely needs to be clarified during
further proceedings.

    29.   Amniocentesis is a testing procedure used in
high-risk pregnancies, whereby a needle is used to
extract amniotic fluid from the uterus. The State argued
that the risks associated with digoxin injection are
comparable to this procedure.


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no. 111) at 150:2-8.        Spontaneous expulsion of the fetus

can cause bleeding and require medical attention, aside

from being very upsetting to the woman.30                  Because of

these documented risks, the Society of Family Planning,

a professional organization for family planning, stated

that in order to justify “the harm of the documented

increase in spontaneous labor and extramural delivery,

along with an increase in vomiting seen in the one blinded

digoxin RCT [randomized control trial], in addition to

any more infrequent risks, a significant increase . . .

in D&E safety would seem warranted.”               Tr. Vol. I (doc.

no. 110) at 26:20-24, 28:2-7.31



    30.    This complication would have even worse
consequences for women surrounded by people who do not
support their decision to terminate a pregnancy, or if
they have abusive partners who find out about the
abortion due to a medical emergency caused by extramural
delivery. Tr. Vol. I (doc. no. 110) at 72:1-13; see also
Casey, 505 U.S. at 887-98 (majority opinion) (striking
down the spousal notification requirement based on
concerns about abused women seeking abortion).

    31.    The State argued that these fetal-demise
procedures do not introduce new categories of risks that
are not already present in standard D&E. See, e.g., Tr.
Vol. II (doc. no. 111) at 13:15-22.        However, the

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       (iv) The use of digoxin injections as a fetal-demise

method    would     impose   serious         logistical    obstacles      to

abortion access.         Women undergoing digoxin injection

would be required to make an additional trip to the clinic

24 hours prior to their D&E procedure appointment.                      See

Whole    Woman’s    Health,    136      S.    Ct.    at   2313   (external

factors that affect women’s ability to access abortion

care--such     as     increased    driving          distance--should      be

considered as an additional burden when conducting the

undue burden analysis).         This would be in addition to the

counseling session and 48-hour waiting period mandated

by Alabama law.        Accordingly, if digoxin injection were

used    to   induce    fetal   demise,         a    patient   seeking     an

abortion would have to meet with the physician at least




significant risk of extramural delivery associated with
digoxin does not apply to standard D&E. Tr. Vol. II (doc.
no. 111) at 150:2-6. This means that digoxin injection
introduces a new category of risk into second-trimester
abortion procedures.    Furthermore, Gonzales and Casey
simply ask whether the ban imposes “significant health
risks” on women, rather than asking whether an
alternative procedure introduces new types of risks.
Gonzales, 550 U.S. at 161 (quoting Casey, 505 U.S. at
880)).
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three times over four days all for a 10- to 15-minute

procedure:       first,        to        receive     the       required

informed-consent       warning;     second,    at    least    48   hours

later, to undergo the digoxin injection; and third, at

least 24 hours later, to have the physician determine

whether fetal demise was achieved and if so, to receive

the standard D&E procedure.              In addition, under certain

circumstances, it would be necessary for the physician

to administer digoxin before beginning cervical dilation;

in that case, the patient would need to come for an

additional visit between digoxin injection and the D&E

procedure.      Tr. Vol. I (doc. no. 110) at 90:24-91:6,

202:23-203:15.      And, in the 5 to 15 % of cases where the

first digoxin injection would fail, an additional visit

could be required.

    The burden of having to make multiple trips for the

procedure is especially pronounced for low-income women.

Most women who come to the Tuscaloosa and Huntsville

clinics are low-income, and 60 % of patients at the




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Huntsville clinic receive financial assistance.32                       Tr.

Vol. I (doc. no. 110) at 206:18-23.                As this court found

in Planned Parenthood Southeast Inc. v. Strange, getting

to     an   abortion    clinic     is    particularly     expensive     and

difficult for low-income women: they are less likely to

own cars and therefore more likely to depend on public

transportation, asking friends or relatives for rides,

or borrowing cars; they are unlikely to have regular

sources of childcare; they are more likely to work for a

job that pays hourly, without any paid time off, or to

receive public benefits that require regular attendance

of meetings or classes.33            Planned Parenthood Southeast,

Inc. v. Strange, 33 F. Supp. at 1357.                Having to make yet



    32.    The court notes that 17.6 % of Huntsville
residents live below the poverty line. Katz Decl. (doc.
no. 54-11) ¶ 8. 25.2 % of Tuscaloosa’s population lives
below the poverty line. Id. ¶ 8.

    33. The medical director of the Huntsville clinic
also described the difficulties that her patients face
with arranging child care, traveling far distances to the
clinic, and affording shelter during the trip. For
example, some women who are unable to afford staying at
a hotel sleep in the parking lot of the clinic. Tr. Vol.
I (doc. no. 110) at 207:9-11.

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another trip to the clinic in order to receive the digoxin

injection would exacerbate the patients’ difficulties,

especially if they are traveling long distances to get

to the clinic; for some of them, the procedure would

become time- and cost-prohibitive.               Depending on how far

away from the clinic the women lives--and some women

travel from as far as 5 or 6 hours away--undergoing

digoxin injection before D&E could require a woman to

miss four or even five days of work.34              Tr. Vol. I (doc.

no. 110) at 207:8-9. Faced with this great financial and

logistical burden, some low-income women would have to

delay obtaining an abortion or would not be able to have

an abortion at all.

    Based on the unreliability of the procedure, unknown

risks for women before 18 weeks of pregnancy and for

injecting a second dose of digoxin, increased risks of

complications,        the    travel    burden,    and   the   pain    and

invasiveness     of    the    procedure,    the    court   finds     that



    34. And,     as   mentioned earlier,  given   the
unreliability of digoxin injection, this burden could
stretch into an additional day.
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digoxin injection is not a feasible method of inducing

fetal demise before standard D&E in Alabama clinics.



               c. Potassium-Chloride injection

    Physicians administer potassium-chloride injections

by inserting a long surgical needle through the woman’s

skin, abdomen, and uterine muscle, and then into the

fetal heart, using an ultrasound machine to guide the

needle.    When administered directly to the fetal heart,

potassium chloride stops it almost immediately.                  As with

digoxin    injections,     potassium-chloride         injections       are

invasive    and   painful,     because      they   are   administered

through    a   transabdominal        surgical      needle      injection

without    anesthesia.        Tr.    Vol.   I   (doc.    no.    110)      at

44:12-22; 75:25-76:6; 196:3-6.

    The court finds that, based on the current record,

potassium-chloride injections are not a feasible method

of causing fetal demise before standard D&E procedures

for the following reasons.




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    (i)     Injecting       potassium      chloride      takes     great

technical    skill    and    is   extremely     challenging.          The

physician’s goal is to inject it directly into the fetal

heart,35 which is smaller than the size of a dime at 15

weeks of pregnancy.         Tr. Vol. I (doc. no. 110) at 31:11.

An expert credibly testified that, despite being highly

trained in the field of abortion care, she was unable to

successfully inject potassium chloride into the fetal

heart, even at an advanced gestational age.                      Id. at

52:11-53:14, 136:7-16.

    (ii) Physicians must receive extensive training to

induce    fetal    demise    through     injection      of   potassium

chloride,    and     that   training     is    unavailable       to   the

physicians at the Tuscaloosa and Huntsville clinics.

Potassium-chloride injection is not taught to OB/GYN

residents or to family-planning fellows, whose training




    35.    If the physician misses the fetal heart,
potassium chloride may still be injected into the fetal
body compartment.    However, injecting outside of the
heart may require a larger volume or a longer time to
achieve fetal demise. Tr. Vol. II (doc. no. 111) at 120:
9-16; Biggio Decl. (doc. no. 81-1) ¶ 7.
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involves abortion care, because it is generally only used

for high-risk, multi-fetal pregnancy reductions (where

one or more of the fetuses in the same pregnancy are

terminated and the rest are carried to full-term).                   Tr.

Vol. I (doc. no. 110) at 39:9-23. The only subspecialists

who    are   trained      to    perform       the     injections     are

maternal-fetal-medicine fellows, who go through three

years of highly supervised training to specialize in

high-risk pregnancies. Tr. Vol. II (doc. no. 111) at

141:5-10. Learning the procedure would require observing

at least ten to twenty procedures, according to the more

conservative estimate.36         Id. at 119:6-14.

      Because    the   Tuscaloosa       and     Huntsville     clinics’

physicians      are    not     trained     in       potassium-chloride

injections, they would need to receive training in order

for this procedure to be a meaningfully available method




    36. One of the plaintiffs’ experts estimated, based
on consultation with a leading expert in the field, that
learning the procedure would require observing 100 to 200
cases. Tr. Vol. II (doc. no. 111) at 60:7-61:2.


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in     the    state     of    Alabama.37      However,     it   would        be

impossible        for        these   physicians     to    receive      this

specialized training, because no hospital in the state

of      Alabama       offers     training     on    potassium-chloride

injections to unaffiliated physicians not enrolled in

their three-year fellowship program.                 Tr. Vol. II (doc.

no. 111) at 141:23-25.                 Furthermore, because even a

tertiary academic hospital like the University of Alabama

at Birmingham hospital has a caseload of fewer than ten

potassium-chloride injection procedures per year, even a

hypothetical ad-hoc training program would take at least

a year for a sufficient number of cases to arise.                       Id.

at 140:6-10.

       (iii) Potassium-chloride injections carry serious

risks to the patient.                Because potassium chloride has



    37.   It is unlikely that Alabama will attract new
providers who are already trained in these procedures,
as Alabama has proven to be a hostile environment for
abortion providers.  See Planned Parenthood Southeast,
Inc. v. Strange, 33 F. Supp. 3d at 1333-34 (describing
history of violence against abortion providers and
decline in the number of clinics in Alabama in recent
years).

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harmful effects on the heart, inadvertently injecting it

into the woman’s circulation can endanger the patient.

Tr. Vol. I (doc. no. 110) at 42:2-8; Biggio Decl. (doc.

no. 81-1), ¶ 9.      In one instance reported in the medical

literature,     a   woman    suffered     cardiac     arrest    because

potassium chloride was accidently injected into one of

her blood vessels instead of the fetus.             Tr. Vol. I (doc.

no. 110) at 29:2-7.       Injections of potassium chloride may

also   increase     the     risk   of   uterine     perforation      and

infection, due to the inherent risks associated with

transabdominal injections.          Tr. Vol. I (doc. no. 110) at

29:3-5, 43:16-20, 80:6-8; II-121:5-9.                 That said, the

risk of potassium-chloride injection before standard D&E

is not quantifiable because there has been no study on

the efficacy or safety of the procedure before standard

D&E.   Id. at 29:21-30:3, 44:4-11.38




    38. Reports of adverse outcomes, while concerning,
do not establish a risk level because researchers cannot
know how often they occur without knowing how many
potassium-chloride injections are being completed. Tr.
Vol. I (doc. no. 110) at 120:11-121:6.
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    (iv)     Potassium-chloride          injections      are     not       a

feasible method also because they cannot be completed on

every    woman     seeking   standard      D&E.    As   with    digoxin

injections, obesity, fetal and uterine positioning, and

presence    of    uterine    fibroids    may    complicate      or   even

prevent the administration of the injections in many

women.     Tr. Vol. I (doc. no. 110) at 40:4-42:1.               And as

mentioned earlier, obesity is common in the Tuscaloosa

and Huntsville clinics’ patient population.

    As     with    umbilical    cord     transection     and    digoxin

injection,         potassium-chloride          injection        is        an

unnecessary and potentially harmful medical procedure

with no counterbalancing medical benefit for the patient.

Because it is a technically challenging procedure that

carries serious health risks, and because there is no

practical way for the plaintiffs to receive training to

perform the procedure safely, the court finds potassium-

chloride injection to be an unavailable method for fetal

demise   for      women   seeking    abortion     in    the    state      of

Alabama.


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                            3. Balancing

    As     stated    above,     to      determine      whether    a    law

regulating abortion constitutes an undue burden on the

right to terminate a pregnancy before viability, the

court must balance the State’s interests underlying a law

against the obstacles imposed by the law to women’s

access to abortion.

    While the court assumes the State’s interests are

legitimate, it is clear that the State cannot pursue its

interests in a way that completely denies women the

constitutionally protected right to terminate a pregnancy

before the fetus is viable.                Here, the State contends

that its interests are sufficiently strong to justify the

burdens the fetal-demise law would impose on Alabama

women because they would retain the ability to terminate

pregnancy at or after 15 weeks. The State’s argument is

premised    on   the    idea   that        it   is   feasible    for   the

Tuscaloosa and Huntsville clinics to utilize the three

fetal-demise methods examined above.                  However, for the

reasons    discussed     above,      the    court    concludes    on   the


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current record that the proposed fetal-demise methods are

not feasible for inducing fetal demise before standard

D&E at the Alabama clinics.          Therefore, if the court were

to allow the fetal-demise law to go into effect, Alabama

women would likely lose their right to pre-viability

abortion access at or after 15 weeks.                     The State’s

interests, although legitimate, are not sufficient to

justify     such      a     substantial         obstacle      to     the

constitutionally protected right to terminate a pregnancy

before viability.

    Because, as the current judicial record reflects,

the State’s interests are insufficient to overcome the

denial of Alabama women’s right to terminate a pregnancy

before viability, and because, as the current judicial

record    further    reflects,     the    fetal-demise      law    would

likely    place     substantial,        and   even   insurmountable,

obstacles    before    Alabama     women      seeking   pre-viability

abortions, the court preliminarily concludes that the law

does not “confer[]         benefits sufficient to justify the

burdens upon access that [it] imposes.”                 Whole Woman's


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Health, 136 S. Ct. at 2299.           The court thus preliminarily

holds that the plaintiffs are likely to show that the

fetal-demise law “constitutes an undue burden on abortion

access” and is unconstitutional.                Id.



                          B. Irreparable Harm

    The second requirement for an order preliminarily

enjoining         enforcement             of      the        fetal-demise

law--irreparable harm--is satisfied.                   In the absence of

an injunction, Alabama women would immediately lose the

right to obtain a pre-viability abortion anywhere in the

State     when    they     reached    15       weeks    of    pregnancy.39

Moreover, as explained previously, these Alabama women

would   also     suffer    irreparable         harm    to   their   privacy

rights.




    39. See supra, note 9.
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                        C. Balancing of Harms

    As   explained,       in   the   absence          of   an   injunction,

Alabama women would immediately lose the right to obtain

a pre-viability abortion anywhere in the State when they

reached 15 weeks of pregnancy, whereas all the State will

face is that a likely unconstitutional law passed by

legislators will not go into effect.                 The threatened harm

to the plaintiffs clearly outweighs whatever damage or

harm a proposed injunction may cause the State.




                         D. Public Interest

    Finally, it is in the public interest to preserve

the status quo and give the court an opportunity to

evaluate fully the lawfulness of the fetal-demise law

without subjecting the plaintiffs, their patients, or the

public   at    large      to   any   of     its        potential     harms.

Furthermore,     the      public     has        no    interest     in   the

enforcement    of   a    law   likely      to    be    unconstitutional.




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Odebrecht    Const.,     Inc.   v.   Secretary,      Fla.    Dep’t    of

Transp., 715 F.3d 1268, 1290 (11th Cir. 2013).

    However, the court notes sua sponte that the Eleventh

Amendment      bars       relief        against      an      allegedly

unconstitutional provision if the named state officials

do not have the authority to enforce it.                  Summit Med.

Assocs., P.C. v. Pryor, 180 F.3d 1326 (11th Cir. 1999)

(concluding that the Ex Parte Young exception to the

Eleventh Amendment does not apply to abortion providers’

challenge to the private civil-enforcement provision of

a statute regulating abortion, but does apply to the

statute’s criminal-liability provision).                Therefore, the

preliminary injunction does not extend to the private

civil-enforcement       provisions       under    the     fetal-demise

law.40




    40. Since the Ex Parte Young issue has been raised
sua sponte without briefing, the court will, upon request
from any of the parties, reconsider it.
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                                   ***

       The     court     will,    therefore,       enter    an    order

preliminarily          enjoining          enforcement       of       the

school-proximity and fetal-demise laws.               The injunction

does     not    extend     to    the     private   civil-enforcement

provisions of the fetal-demise law.

       DONE, this 27th day of October, 2016.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
